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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LARRY KLAYMAN,
                               Plaintiff,
                       v.
                                                     Civil Action No. 1:06-cv-00670
JUDICIAL WATCH, INC.,

                              Defendant.




                                       NOTICE OF INQUIRY

        Plaintiff Larry Klayman respectfully requests the Court to advise whether it will rule on

and issue an order concerning his motion to stay before midnight tonight, as today is the last day

to file a notice of appeal.


Dated: September 6, 2019                            Respectfully submitted,


                                                    /s/ Larry Klayman

                                                    Larry Klayman, Esq.
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                                                    Washington, DC, 20006
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                                                    Email: leklayman@gmail.com

                                                    Pro Se



                                  CERTIFICATE OF SERVICE


        I HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically and served through the court’s ECF system to all counsel of record or parties on

September 6, 2019.



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                                             /s/ Larry Klayman




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